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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENE VENITA JOHNSON,                           )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       Case No. 1:19-cv-177-SPB
                                               )
CITY OF ERIE POLICE                            )
DEPARTMENT, et al.,                            )
                                               )
                       Defendants.             )

                                              ORDER

       NOW, this 21st day of July, 2020, for the reasons set forth in the accompanying

Memorandum Opinion,

       IT IS ORDERED that the Defendants’ amended motion to dismiss the complaint, ECF

No. [19], shall be, and hereby is, GRANTED. Plaintiff’s §1983 claims against the City of Erie

Police Department and the City of Erie Mayor’s Office shall be, and hereby are, DISMISSED

with prejudice. In addition, Plaintiff’s §1983 claim predicated upon the failure of Erie police

officers to prosecute her assailant and/or to file different criminal charges shall be, and hereby is,

DISMISSED with prejudice. In all other respects, Plaintiff’s complaint shall be, and hereby is,

dismissed without prejudice and with leave to amend on or before August 7, 2020.

In the event that Plaintiff fails to amend her pleading by the aforementioned date, the

dismissal of her remaining claims shall be converted to a dismissal with prejudice, without

further notice, and the case will be closed.

       IT IS FURTHER ORDERED that Defendants’ alternative motion for summary judgment

shall be, and hereby is, DISMISSED without prejudice to be reasserted at a later point in these

proceedings, if warranted.



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                                     ____________________________
                                     SUSAN PARADISE BAXTER
                                     United States District Judge




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